                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                 No. CR 08-4060
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 JOEY BURDETTE JOHNSON,                RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEA
                     ____________________


                        I. INTRODUCTION AND BACKGROUND
       On November 20, 2008, a one-count Third Superseding Indictment was returned
against the defendant Joey Burdette Johnson. On January 8, 2009, the defendant appeared
before United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Count
1 of the Third Superseding Indictment. On January 8, 2009, Judge Zoss filed a Report and
Recommendation in which he recommended that defendant’s guilty plea be accepted. No
objections to Judge Zoss' Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss' recommendation to accept defendant’s plea
in this case.


                                      II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the

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              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss' Report and Recommendation of January 8, 2009,
and accepts defendant’s plea of guilty in this case to Count 1 of the Third Superseding
Indictment.
      IT IS SO ORDERED.
      DATED this 23rd day of January, 2009.




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